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                                  AFFIDAVIT
        I, Leidy Partida, being duly sworn, declare and state as

follows:

                             I.   INTRODUCTION

        1.   I am a Special Agent (“SA”) for the Federal Bureau

of Investigation (“FBI”) and have been so employed since January 20,

2020.    I am currently assigned to the Los Angeles Field Division

Southern California Drug Task Force, High Intensity Drug Trafficking

Area (“SCDTF-HIDTA”).    SCDTF-HIDTA is a task force comprised of

agents and officers from federal, state, and local agencies,

assigned to investigate large-scale methamphetamine trafficking.

        2.   I have participated in the identification of members of

drug trafficking organizations using telephone records and bills,

photographs, and other documents.      I have assisted in the handling

of confidential sources, executed search warrants for controlled

substances, and conducted physical and electronic surveillance in

connection with drug investigations.       Based on my experience and

training with the FBI, I am familiar with the methods used in drug

trafficking operations and the trafficking patterns employed by drug

trafficking organizations.     I know that drug traffickers often

require the use of one or more telephone facilities to negotiate

times, places, and schemes, for importing, manufacturing, and

distributing controlled substances and for arranging the disposition

of proceeds from the sale of controlled substances.         The telephone

enables drug traffickers to maintain contact with associates,

suppliers, and customers.     I also know that drug traffickers often

use fraudulent information to subscribe to communication facilities,

especially cellular telephones, and frequently change communications
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facilities to thwart law enforcement efforts to intercept their

communications.

                         II. PURPOSE OF AFFIDAVIT
     3.    This affidavit is made in support of a criminal complaint

against and arrest warrant for Michael WILLIAMS (“WILLIAMS”) for

violations of 21 U.S.C. § 846 (attempt to distribute

methamphetamine).

     4.   This affidavit is also made in support of an application

for a warrant to search the person of WILLIAMS, as described in

Attachment A.

     5.   The requested search warrant seeks authorization to seize

evidence, fruits, and instrumentalities of violations of 21 U.S.C.

§ 846 (attempt to distribute methamphetamine and conspiracy to

distribute methamphetamine); 49 U.S.C. § 46314(b)(1) (entering

airport area in violation of security requirements); and 18 U.S.C. §

201 (b)(1) (bribery of public officials) (collectively, the “SUBJECT

OFFENSES”) as more fully described in Attachment B.         Attachments A

and B are incorporated herein by reference.

     6.   The facts set forth in this affidavit are based upon my

personal observations and participation in this investigation, my

review of material obtained via court authorized search warrants,

information obtained from various law enforcement personnel and

witnesses, and my training and experience.        This affidavit is

intended to show merely that there is sufficient probable cause for

the requested warrants and does not purport to set forth all my

knowledge of, or investigation into, this matter.         Unless

specifically indicated otherwise, all recordings, conversations and
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statements described in this affidavit are related in substance and

in part only.

                     III. SUMMARY OF PROBABLE CAUSE
     7.    In August of 2019, law enforcement began investigating a

drug trafficking organization (“DTO”) transporting drugs from Los

Angeles, California, to other parts of the United States, including

Louisville, Kentucky.

     8.    On August 9, 2019, pursuant to a Kentucky state search

warrant, law enforcement discovered and seized approximately 60

pounds of methamphetamine that were located within a shipping

container sent from Los Angeles to Kentucky.

     9.    On August 12, 2019, two individuals were arrested in

connection with the seized methamphetamine and one subsequently

began cooperating with the related law enforcement investigation

(the cooperating defendant is referred to hereinafter as “CD-1”). 1

CD-1 provided information about the DTO’s organization and

activities, including the use of Transportation Security Officers

(“TSOs”) at the Los Angeles International Airport (“LAX”) to help
smuggle drugs past Transportation Security Administration (“TSA”)

security checkpoints at LAX.

     10.   On January 10, 2020, and August 4, 2020, federal agents

and task force officers (“TFO”) conducted undercover operations

involving WILLIAMS, who was then a TSA TSO assigned to LAX.           During

the operation, WILLIAMS transported an unscreened package containing

fake methamphetamine beyond the TSA security screening area at LAX

     1 CD-1 was charged with attempted distribution of a controlled
substance in violation of 21 U.S.C. § 846. CD-1 has no previous
criminal history. CD-1 is cooperating in exchange for sentencing
considering and is not receiving financial compensation for
cooperating.
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and delivered the package to another individual (an undercover

agent) in the sterile area of the airport in exchange for cash.

                     IV. STATEMENT OF PROBABLE CAUSE
     A.    Kentucky Arrest and Indictment

     11.   Based on my conversations with law enforcement agents in

Kentucky, I know the following:

           a.   On August 9, 2019, a Kentucky state search warrant

was executed on a shipping container belonging to CD-1.          Law

enforcement officers recovered approximately 60 pounds of

methamphetamine from the container.       The container was registered to

CD-1, who was listed as both the shipper and the intended receiver.

The registration also included CD-1’s cell phone number.          CD-1 was

scheduled to retrieve the shipping container on August 12, 2019.

           b.   On August 12, 2019, at approximately 6:30 A.M., CD-1

was seen by law enforcement walking up to the shipping container and

attempting to use a key to unlock it.       Law enforcement arrested CD-1

and conducted a search of CD-1 incident to CD-1’s arrest.          Recovered

from CD-1’s person were keys that unlocked the original locks to

both the shipping container and the pelican case recovered from

inside the container.    Also recovered from CD-1’s person was a black

iPhone, which was later searched by law enforcement pursuant to a

search warrant issued in Western District of Kentucky Case Number

3:19-MJ-597 by United States Magistrate Judge Regina S. Edwards.             On

CD-1’s cell phone, agents found a text message that conveyed to CD-1

the address and unit number for the storage unit and the gate code

to access the unit.

           c.   CD-1 and CD-1’s co-conspirator, Thomas Leo Porter,

were subsequently indicted in Western District of Kentucky case
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number 19-CR-160 on September 4, 2019 for their roles in a drug

trafficking conspiracy.

     B.     Identification of WILLIAMS
     12.    On August 16, 2019, law enforcement obtained a federal

warrant authorizing a search of CD-1’s cellular telephone.

     13.    Based on agents’ review of the materials obtained pursuant

to the search warrant, I learned that:

            a.   The telephone number (310) 857-0218 was in contact

with CD-1’s telephone prior to CD-1’s arrest; and

            b.   The telephone number (310) 857-0218 and CD-1’s

telephone used a cross-platform messaging and voice over IP service

known as WhatsApp Messenger or simply WhatsApp, to send text

messages and voice messages, make voice and video calls, and share

images, documents, user locations, and other media.

     14.    Based on my training and experience, I know that drug

traffickers use WhatsApp and other similar programs, for their

enhanced privacy features, such as end-to-end encryption of

messages.

     15.    Based on records subpoenaed from T-MOBILEUSA, I know that

(310) 857-0218 was subscribed to “Michael Williams” at an address in

Gardena, California.    I confirmed via a search of CLEAR 2 that

WILLIAMS had previously lived at that Gardena address.

     16.    On February 22, 2022, I confirmed that WILLIAMS is still

using (310) 857-0218 by dialing that number.        The person who

answered responded “This is Michael.”



     2 CLEAR is a proprietary database that aggregates biographic
information such as addresses, phone numbers, and Social Security
numbers from databases available on the Internet.
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        17.   Based on my review of WILLIAMS’s TSA work schedule and his

use of a TSA identity card at secure doors at LAX, I know that

WILLIAMS was employed by the TSA as a TSO at LAX throughout 2019 and

2020.

        C.    CD-1’s October 18, 2019, Proffer

        18.   On October 18, 2019, CD-1 participated in a proffer

session with the government and provided, in substance and in part,

the following statements:

              a.   CD-1 would contact WILLIAMS and other TSA employees

on FaceTime or WhatsApp to meet in person or to obtain their work

schedule to coordinate for drug trafficking;

              b.   CD-1 would then meet with WILLIAMS either the night

before or the morning of his shift to hand over a backpack

containing drugs;

              c.   Once past the security checkpoints, WILLIAMS and a

drug courier would meet in the bathroom to exchange the drugs;

        D.    January 10, 2020, Undercover Operation at LAX

        19.   On December 13, 2019, at the direction of SA Joelle

Joseph, CD-1 asked WILLIAMS to help CD-1 smuggle methamphetamine

past TSA security checkpoints at LAX.       During these recorded text

messages, WILLIAMS stated that he had not been working due to a

lower back injury.

        20.   On January 6, 2020, WILLIAMS advised CD-1 of his return to

work at LAX via a recorded text message.        On January 7, 2020, via a

recorded phone call, WILLIAMS advised his work schedule was Monday

through Friday, Terminal four, starting at 12.

        21.   Between January 8, 2020, and January 9, 2020, via recorded

telephonic conversations, WILLIAMS and CD-1 coordinated meeting
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logistics, to include date, location, financial compensation, and

parties involved.     WILLIAMS stated he started work at 11 on January

10, 2020.     CD-1 told Williams they could meet at a restaurant near

William’s work on January 10, 2020.       During the meeting, CD-1 would

provide WILLIAMS with a backpack that would contain the

methamphetamine.

        22.   Unbeknownst to WILLIAMS, the methamphetamine provided to

WILLIAMS by CD-1 were fake methamphetamine prepared by law

enforcement.     The fake methamphetamine consisted of a clear

crystalline-like substance which appeared to be methamphetamine.

Agents wrapped and sealed the fake methamphetamine to make it appear

like real methamphetamine.     WILLIAMS, who as a TSA agent had

unscreened access to LAX, agreed with CD-1 to deliver the backpack

to CD-1’s accomplice in the men’s restroom on the secure side of the

airport terminal.

        23.   Based on my participation in this investigation,

conversations with other law enforcement officers involved, review

of images taken by airport security cameras at LAX, surveillance

reports and the recorded conversations between CD-1 and WILLIAMS, I

know the following about the activities of WILLIAMS on January 10,

2020:

        24.   At approximately 8:50 A.M., CD-1 and WILLIAMS agreed to

meet at a restaurant in the vicinity of LAX (“LOCATION 1)”.

        25.   At approximately 9:22 A.M., WILLIAMS told CD-1 he had

arrived at LOCATION 1 in a Ford Flex and was next to a white

Suburban.     CD-1 told WILLIAMS he was going to get into WILLIAMS’

vehicle.
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     26.     At approximately 9:22 A.M., federal agents observed a dark

grey Ford Flex (“VEHICLE 1”) arrive at LOCATION 1.         An open-source

search revealed VEHICLE 1 was registered to WILLIAMS.

     27.     At approximately 9:23 A.M., federal agents observed CD-1

walking toward VEHICLE 1, carrying a dark-colored, weighted

backpack. CD-1 subsequently entered the passenger side of VEHICLE 1.

     28.     At approximately 9:26 A.M., federal agents observed CD-1

exit VEHICLE 1, carrying the aforementioned backpack, now apparently

less weighted.

     29.     At approximately 9:30 A.M., federal agents observed

VEHICLE 1 departing the parking lot of LOCATION 1, traveling

eastbound on Century Boulevard.

     30.     At approximately 10:22 A.M., a federal agent observed an

FBI Agent acting in an undercover capacity (“UCE”) at Gate 45 at

Terminal 4 inside LAX (“LOCATION 2”).

     31.     At approximately 11:36 A.M., federal agents observed

WILLIAMS walk into the men’s restroom in Terminal 4, across from the

“Entertainment News” concession shop at LOCATION 2.

     32.     At approximately 11:39 A.M., federal agents observed UCE

walking towards the same aforementioned restroom that WILLIAMS

entered.   Upon entering, UCE observed WILLIAMS standing in front of

a sink.    WILLIAMS was wearing earbuds and appeared to be talking on

the phone.    At this time, UCE made eye contact with WILLIAMS.

WILLIAMS then turned and walked towards the restroom stalls.

Looking east to west, WILLIAMS entered stall number 3 and gestured

for UCE to go into adjoining stall number 2.        Once inside the

stalls, WILLIAMS, still talking on the phone, dropped a gray

pillowcase containing the aforementioned fake methamphetamine.
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After picking up the pillowcase and examining the contents, UCE

dropped a Lays potato chip bag containing $4,000 cash as payment to

WILLIAMS for his role in the transaction.         Meanwhile, SA Velazquez

entered the bathroom and observed that WILLIAMS and UCE in the

bathroom stalls.

      33.   Shortly thereafter, WILLIAMS was observed on LAX closed-

caption TV cameras exiting the restroom while wearing his TSA

uniform and departing the area.

      E.    August 4, 2020, Undercover Operation at LAX

      34.   On July 29, 2020, at the direction of SA Joelle Joseph,

CD-1 asked WILLIAMS to help CD-1 smuggle methamphetamine past TSA

security checkpoints at LAX.       During recorded calls, WILLIAMS stated

that he would advise CD-1 of his work schedule for the upcoming week

of August 2-8, once he received the schedule.

      35.   On August 3, 2020, WILLIAMS advised CD-1 (via recorded

text message) of his current work schedule.         WILLIAMS’ shift on

August 4, 2020, commenced at 12 P.M., and he was assigned to

Terminal 4 at LAX.     CD-1 and WILLIAMS coordinated to meet on August

4, 2020, via recorded text and phone conversations.          WILLIAMS agreed

to meet CD-1 at a predetermined location in the vicinity of LAX to

receive methamphetamine from CD-1.        During the meeting, CD-1 would

provide WILLIAMS with a backpack that would contain the

methamphetamine.     Unbeknownst to WILLIAMS, the methamphetamine

provided to WILLIAMS by CD-1 were fake methamphetamine prepared by

law enforcement.     The fake methamphetamine consisted of a clear

crystalline-like substance which appeared to be methamphetamine.

Agents wrapped and sealed the fake methamphetamine to make it appear

like real methamphetamine.      WILLIAMS agreed to walk the backpack
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through a TSA checkpoint to which he had access without screening,

and to deliver the backpack to CD-1’s accomplice in the men’s

restroom on the secure side of the airport terminal.          The fake

methamphetamine is pictured below.
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        36.   Based on my participation in this investigation,

conversations with other law enforcement officers involved, review

of images taken by airport security cameras at LAX, surveillance

reports and the recorded conversations between CD-1 and WILLIAMS, I

know the following about the activities of WILLIAMS on August 4,

2020:

        37.   At approximately 9 A.M., CD-1 and WILLIAMS agreed to meet

at a restaurant in the vicinity of LAX.

        38.   At approximately 10:47 A.M, federal agents observed

WILLIAMS arrive at a McDonald’s restaurant near LAX driving a

motorcycle (“LOCATION 3”).
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      39.   At approximately 10:57 A.M., federal agents observed

WILLIAMS entering CD-1’s vehicle, and exiting approximately two

minutes afterwards.

      40.   At approximately 10:59 a.m., federal agents observed

WILLIAMS get out of the CD-1’s vehicle, get back on his motorcycle

and drive out of the parking lot.

      41.   At approximately 11:04 A.M., federal agents observed

WILLIAMS drive westbound on Century Blvd, enter LAX, and drive into

Parking Garage 4 (“P4”).

      42.   At approximately 11:09 A.M., a federal agent observed

WILLIAMS use his cellphone in P4.

      43.   At approximately 11:20 A.M., federal agents observed

WILLIAMS walk toward the Terminal 4 building entrance while wearing

a blue TSA uniform shirt.

      44.    At approximately 11:27 A.M., a federal agent observed

WILLIAMS enter the men’s restroom in the vicinity of Gate 40.

      45.    At approximately 11:28 A.M., an FBI Agent, again acting

in an undercover capacity (“UCE”) entered the aforementioned men’s
restroom.   Upon entering, UCE and WILLIAMS made eye contact, and

WILLIAMS entered the first restroom stall (“stall 1”).           UCE

subsequently entered the neighboring restroom stall (“stall 2”).

WILLIAMS placed a brown “Chipotle” food bag on the floor between the

divider of stall 1 and stall 2.       UCE then picked up the brown

“Chipotle” bag and examined the fake methamphetamine.           Then, UCE

placed a “Lays” potato chip bag containing $4,000 in cash on the

floor between the divider of stall 1 and stall 2.          WILLIAMS

subsequently picked up the “Lays” potato chip bag and departed the

men’s restroom.    The $4,000 served as payment for WILLIAMS’
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involvement in the transaction of fake methamphetamine.           UCE

departed the men’s restroom shortly after WILLIAMS departed the

restroom.

      46.   At approximately 11:31 A.M., WILLIAMS sent CD-1 a text

message stating, “We good solid bro.”

      47.   Based on a review of airport security cameras at LAX, I

know that the UCE departed the area after the exchange in the men’s

restroom.   Shortly thereafter, WILLIAMS was observed on LAX closed-

caption TV cameras exiting the restroom while wearing his TSA

uniform and departing the restroom area to begin his shift at

screening in Terminal 4 of LAX.
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             V.   TRAINING AND EXPERIENCE ON DIGITAL DEVICES 3
      48.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is often

retrievable from digital devices:

            a.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained in

the file does not disappear; rather, the data remain on the hard

drive until overwritten by new data, which may only occur after a

long period of time.     Similarly, files viewed on the Internet are

often automatically downloaded into a temporary directory or cache

that are only overwritten as they are replaced with more recently

downloaded or viewed content and may also be recoverable months or

years later.

            b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of evidence

in other locations, such as, how the device has been used, what it

has been used for, who has used it, and who has been responsible for

creating or maintaining records, documents, programs, applications,

and materials on the device.       That evidence is often stored in logs

      3As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing data in
digital form, including central processing units; desktop, laptop,
notebook, and tablet computers; personal digital assistants;
wireless communication devices, such as paging devices, mobile
telephones, and smart phones; digital cameras; gaming consoles;
peripheral input/output devices, such as keyboards, printers,
scanners, monitors, and drives; related communications devices, such
as modems, routers, cables, and connections; storage media; and
security devices.
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and other artifacts that are not kept in places where the user

stores files, and in places where the user may be unaware of them.

For example, recoverable data can include evidence of deleted or

edited files; recently used tasks and processes; online nicknames

and passwords in the form of configuration data stored by browser,

e-mail, and chat programs; attachment of other devices; times the

device was in use; and file creation dates and sequence.

            c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and who

used it.    For example, showing the absence of certain software on a

device may be necessary to rebut a claim that the device was being

controlled remotely by such software.

            d.    Digital device users can also attempt to conceal data

by using encryption, steganography, or by using misleading filenames

and extensions.    Digital devices may also contain “booby traps” that

destroy or alter data if certain procedures are not scrupulously

followed.    Law enforcement continuously develops and acquires new

methods of decryption, even for devices or data that cannot

currently be decrypted.

      49.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons, including

the following:

            a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus, often

a controlled environment with specially trained personnel may be

necessary to maintain the integrity of and to conduct a complete and
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accurate analysis of data on digital devices, which may take

substantial time, particularly as to the categories of electronic

evidence referenced above.      Also, there are now so many types of

digital devices and programs that it is difficult to bring to a

search site all of the specialized manuals, equipment, and personnel

that may be required.

            b.     Digital devices capable of storing multiple gigabytes

are now commonplace.     As an example of the amount of data this

equates to, one gigabyte can store close to 19,000 average file size

(300kb) Word documents, or 614 photos with an average size of 1.5MB.

      50.   The search warrant requests authorization to use the

biometric unlock features of a device, based on the following, which

I know from my training, experience, and review of publicly

available materials:

            a.     Users may enable a biometric unlock function on some

digital devices.     To use this function, a user generally displays a

physical feature, such as a fingerprint, face, or eye, and the

device will automatically unlock if that physical feature matches

one the user has stored on the device.        To unlock a device enabled

with a fingerprint unlock function, a user places one or more of the

user’s fingers on a device’s fingerprint scanner for approximately

one second.      To unlock a device enabled with a facial, retina, or

iris recognition function, the user holds the device in front of the

user’s face with the user’s eyes open for approximately one second.

            b.     In some circumstances, a biometric unlock function

will not unlock a device even if enabled, such as when a device has

been restarted or inactive, has not been unlocked for a certain

period of time (often 48 hours or less), or after a certain number
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